        Case 20-21621-GLT                       Doc 61        Filed 07/01/25 Entered 07/01/25 11:01:02                         Desc Main
     Fill in this information to identify the case:           Document Page 1 of 4
     Debtor 1              KELLY M. LAMBERT


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          20-21621GLT




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  QUICKEN LOANS LLC FKA QUICKEN LOANS                                             10

 Last 4 digits of any number you use to identify the debtor's account                         2   6   2   5

 Property Address:                             6500 ADELPHIA ST
                                               PITTSBURGH PA 15206




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $         63.12

     b. Prepetition arrearage paid by the trustee:                                                                   (b)   $         63.12

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee:                                                              + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $         63.12



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee.
         Current monthly mortgage payment                                                                                  $      $1,701.97
         The next postpetition payment is due on                 8 / 1 / 2025
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


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Debtor 1     KELLY M. LAMBERT                                                 Case number (if known) 20-21621GLT
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor( s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor( s) have paid in full the
 amount required to cure the default and stating whether the debtor( s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date     07/01/2025


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     KELLY M. LAMBERT                                          Case number (if known) 20-21621GLT
             Name




                                             Disbursement History

Date         Check #    Name                                 Posting Type                                          Amount
MORTGAGE ARR. (Part 2 (b))
03/25/2022   1229194    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                           63.12
                                                                                                                    63.12

MORTGAGE REGULAR PAYMENT (Part 3)
09/28/2020   1173594    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         5,194.11
10/26/2020   1176680    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         2,249.85
11/24/2020   1179744    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,507.57
12/21/2020   1182683    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,507.60
01/25/2021   1185680    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,507.58
02/22/2021   1188799    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,507.52
03/26/2021   1192111    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         2,261.15
04/26/2021   1195348    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,507.65
05/25/2021   1198462    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,576.02
06/25/2021   1201642    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,618.28
07/26/2021   1204844    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,740.92
08/26/2021   1207996    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         2,637.11
09/24/2021   1211101    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,772.52
10/25/2021   1214175    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,748.72
11/22/2021   1217208    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,748.93
12/23/2021   1220290    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,851.60
01/26/2022   1223350    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,668.00
02/23/2022   1226216    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,728.76
03/25/2022   1229194    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         2,089.15
04/26/2022   1232233    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,627.12
05/25/2022   1235275    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,627.12
06/27/2022   1238299    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,627.12
07/26/2022   1241237    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,627.12
08/24/2022   1244119    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,627.12
09/27/2022   1247003    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,627.12
10/25/2022   1249802    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,627.12
11/23/2022   1252594    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         2,562.52
12/22/2022   1255335    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,722.52
01/26/2023   1258066    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,722.52
02/23/2023   1260660    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,722.52
03/28/2023   1263444    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,722.52
04/25/2023   1266258    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,722.52
05/25/2023   1269127    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,722.52
06/26/2023   1272015    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,722.52
07/25/2023   1274757    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,722.52
08/25/2023   1277549    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,722.52
09/26/2023   1280273    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,722.52
10/25/2023   1282981    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,722.52
11/27/2023   1285656    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,718.23
12/21/2023   1288230    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,718.22
01/26/2024   1290932    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         2,903.07
02/26/2024   1293574    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,754.49
03/26/2024   1296229    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,719.77
04/25/2024   1298893    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,713.33
05/29/2024   1301597    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,712.18
06/25/2024   1304123    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,711.99
07/25/2024   1306734    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         2,022.42
08/26/2024   1309288    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,697.41
09/25/2024   1311885    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,446.35
10/25/2024   1314414    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,948.47
11/25/2024   1316981    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,164.75
12/23/2024   1319362    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         2,237.20
01/28/2025   1321872    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,708.92
02/25/2025   1324281    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,701.97
03/26/2025   1326782    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,701.97
04/25/2025   1329255    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,701.97
05/23/2025   1331652    QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                            AMOUNTS DISBURSED TO CREDITOR                         1,701.97
                                                                                                                104,307.80


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                                         CERTIFICATE OF
                                         Document       SERVICE
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I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

KELLY M. LAMBERT
6500 ADELPHIA ST
PITTSBURGH, PA 15206

MATTHEW M BRENNAN ESQ
201 S HIGHLAND AVE STE 201
PITTSBURGH, PA 15206

QUICKEN LOANS LLC FKA QUICKEN LOANS INC
635 WOODWARD AVE
DETROIT, MI 48226

KML LAW GROUP PC*
701 MARKET ST STE 5000
PHILADELPHIA, PA 19106




7/1/25                                                        /s/ Roberta Saunier
                                                              Administrative Assistant
                                                              Office of the Chapter 13 Trustee




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